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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                             UNITED STATES DISTRICT COURT                               August 21, 2023
                              SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
VS.                                              §   CRIMINAL NO. 4:23-CR-00346
                                                 §
ANDREW VENEGAS                                   §

                                MEMORANDUM AND ORDER

       Before the Court is the defendant’s, Andrew Venegas, motion to set aside the preliminary

order of detention entered by the judge performing miscellaneous duty. After conditions for

release were set by the Magistrate Judge, the government requested a “stay” of release pending an

appeal to the Miscellaneous Judge. The requested stay was granted and the Miscellaneous Judge

revoked or stayed the defendant’s release from detention pending a de novo hearing before this

Court [DE 11].

                                                I.

       At the hearing conducted by this Court, the defendant waived calling any witnesses and

presenting evidence. The government, however, called SA Campbell, who also testified at the

detention hearing on July 18, 2023. In addition, the government offered in evidence, without

objection, additional Exhibits 4 and 20-27, inclusive. During the preliminary hearing in this

matter, Exhibits 1-3 and 7-13, inclusive, were admitted. Therefore, before the Court are the

exhibits admitted in both the preliminary and current proceedings, and the transcripts of testimony

recorded in both proceedings.




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                                                 II.

       The evidence at this juncture is undisputed. The defendant, through the use of cellphones

and tablet devices, at some point in time, began using applications (“Apps”) such as Telegram App

(Startk101), social media pages, MEGA a cloud-based App, Tor, a software, App BlueStacks, a

cellphone emulator, Instagram accounts and perhaps other applications, devices and software to

target females, both adults and minors for the purpose of obtaining pornographic images for sale

and for extorting and blackmailing them. Often the images were stolen from the women’s social

media, in other instances the images were created by the victims at the behest of the defendant.

       The evidence shows that the defendant posted screenshots, videos and photos to thousands

of subscriber files of victims and offered them to subscribers for purchase and viewing. In

addition, to conceal his activities, the defendant used numerous phone numbers, used Tor to

encrypt messages to victims and subscribers and conducted sales using cryptocurrency.

                                                III.

       This case is before the Court for a de novo, independent, review of the evidence and a

determination of whether pretrial detention or release under conditions set by the Court is

appropriate. Where the evidence shows, by a preponderance, that it is more likely than not that a

set of conditions or combination of conditions will not ensure that the accused will appear for court

proceedings and that his victims and the public are adequately protected, then a release pending

trial is unauthorized. See United States v. Fortna, 769 F.2d 243 (5th Cir. 1985).

       Analyzing the evidence and arriving at a determination of whether to detain accused or not

requires the Court to assess whether: (1) the crime(s) alleged involved minor and/or adult-victims;

(2) the defendant poses a danger to the community - his victims and/or himself; (3) the defendant

will comply with court appearance orders and trial; and, (4) what conditions, set by the Court, if
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any, would reasonably insure that the defendant will comply with the Court’s directives. See 18

U.S.C. § 3142(c)(3)(E); 18 U.S.C. § 3142(g).

                                                 IV.

          The defendant argues that he has no prior criminal record, his parents would serve as

gatekeeper to prevent further criminal conduct and, thereby, assures that the defendant makes all

court appearances and complies with other court directives. The Court is of the opinion, based on

the evidence and the nature of the crimes charged that the defendant has failed to produce sufficient

evidence to satisfy the strictures of §§ 3142(e) and (g) and overcome the presumption that he

cannot.

          First, the defendant, having been caught engaging in illicit and “ungodly” conduct, refused

to cooperate with federal authorities in order that the government might discover and shut-down

the defendant’s operation. Moreover, the scope of the defendant’s operation is still under

investigation.     Hence, the victims potentially remain subject to ongoing victimization by the

defendant’s subscribers. Also, in an age where the internet is free and generally available

throughout the United States, it becomes a simple thing for the defendant, a data analyst himself,

to obtain a device by theft, a friend, a family member or an unsuspecting stranger and access his

trove of illicit materials. In short, there is nothing a parent or the Court can do to stop the

defendant’s “itch” for another visual encounter, or actually engage in another encounter with his

victims, several of whom are minors.

          The defendant faces a severe sentence in the range of 30 years incarceration if convicted

and faces a future where he is shut out of the world of technology relative to online and internet

activity. Under such circumstances the defendant is a danger to himself and his family as well as

the public. This reality creates a danger far greater than if he were a major drug dealer because,

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the defendant has internalized his conduct for his own satisfaction and for profit. See United States

v. Johnson, 2020 WL 2513823 *2 (E.D.K.Y., May 15, 2020). In Johnson, the Court remarked:

       The ‘myriad of Internet-capable devices available, including those that work
       with data plans rather than wifi access’ . . . it would be ‘almost impossible’
       to effectively police [the defendant’s] internet use. [The Court went on to
       state] that it “could not adequately prohibit [the defendant] from accessing
       the internet in nearby libraries, restaurants, or coffeeshops; from a cell
       phone; or myriad [sic] other ways.
       The Court agrees and concludes that the defendant has not rebutted the presumption that

any set of conditions can be ordered that would protect the defendant, himself, the public, his

family and his victims and insure his appearances in Court.

       It is Ordered that the defendant be DETAINED pending the trial of his case.

       It is so ORDERED.

       SIGNED on August 21, 2023, at Houston, Texas.
                                                _________________________________
                                                Kenneth M. Hoyt
                                                United States District Judge




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